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 5
     Attorneys for Defendant
 6    JPMORGAN CHASE BANK, N.A.
 7
 8
 9                    UNITED STATES DISTRICT COURT
10                  SOUTHERN DISTRICT OF CALIFORNIA
11
12   KEVIN BROWN,                    )               '19CV0338 AJB AGS
                                           Case No. ____________________
                                     )
13               Plaintiff,          )
                                     )     NOTICE OF REMOVAL OF
14         vs.                       )     DEFENDANT JPMORGAN CHASE
15                                   )     BANK, N.A.
     JPMORGAN CHASE BANK dba
     CHASE AUTO FINANCE, and DOES 1 ))
16   through 20,
                                     )
17               Defendant           )
                                     )
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                                                               NOTICE OF REMOVAL
                                                                Case No. ___________
     LA 52216694
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                                      1           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
                                      2   RECORD:
                                      3           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332(a), 1441
                                      4   and 1446, defendant JPMorgan Chase Bank, N.A. (“JPMC”) hereby removes the
                                      5   action entitled Kevin Brown vs. JPMorgan Chase Bank dba Chase Auto Finance, et
                                      6   al., Case No. 37-2019-00003030-CL-BC-NC, in the Superior Court of the State of
                                      7   California, County of San Diego, Limited Jurisdiction (the “Action”), to the United
                                      8   States District Court for the Southern District of California.
                                      9           1.    Removal Is Timely. Pursuant to California Code of Civil Procedure
                                     10   § 415.30(c), the Complaint in the Action was served on JPMC on January 18, 2019.
                                     11   See Lee v. City of Beaumont, 12 F.3d 933, 936-37 (9th Cir. 1993) (“The issue of
2029 CENTURY PARK EAST, 18TH FLOOR
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                                     12   sufficiency of service of process prior to removal is strictly a state law issue[.]”)
      LOS ANGELES, CA 90067-3086




                                     13   (citing Anderson v. Allstate Ins. Co., 630 F.2d 677, 682 (9th Cir. 1980)) (overruled
                                     14   on other grounds); see also Student A. By and Through Mother of Student A. v.
                                     15   Metcho, 710 F. Supp. 267, 268 (N.D. Cal. 1989) (state law determines when service
                                     16   is made for purposes of removal). Pursuant to 28 U.S.C. § 1446(b), JPMC has
                                     17   timely filed this Notice of Removal within thirty days of service of the Complaint
                                     18   and it is not more than one year from the initial filing of the Action. Pursuant to 28
                                     19   U.S.C. § 1446(a), true and correct copies of all process and pleadings served on
                                     20   JPMC filed in the Action are attached hereto as Exhibit A.
                                     21           2.    This Court Has Removal Jurisdiction Over The Action. The Action is a
                                     22   civil action of which this Court has original jurisdiction under 28 U.S.C. Section
                                     23   1331 and is one which may be removed to this Court by JPMC pursuant to the
                                     24   provisions of 28 U.S.C. Section 1441(b) that Plaintiff alleges in the Complaint
                                     25   violation of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
                                     26   (the “FDCPA”) (Compl. ¶¶ 31-33), a claim that is created by, and arises under,
                                     27   federal law. To the extent any other claims in the Action may arise under state law,
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                                                                                                                 NOTICE OF REMOVAL
                                                                                                                  Case No. ___________
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                                     Case 3:19-cv-00338-AJB-AGS Document 1 Filed 02/15/19 PageID.3 Page 3 of 4



                                      1   supplemental jurisdiction over such claims exists pursuant to 28 U.S.C. Section 1367
                                      2   and 1441(c).
                                      3           3.     Consent Is Not Necessary Because No Defendant Has Been Served.
                                      4   JPMC is the only named defendant in the Action, and as stated, it is not aware of any
                                      5   other defendants that have been named in, or served with, the Complaint.
                                      6   Accordingly, consent of removal is not necessary and removal is proper pursuant to
                                      7   28 U.S.C. § 1446(a) & (b). See Emrich v. Touche Ross & Co., 846 F.2d 1190, 1193
                                      8   n.1 (9th Cir. 1988) (The general rule that “all defendants in a state action must join in
                                      9   the petition for removal . . . [applies] only to defendants properly joined and served
                                     10   in the action.”).
                                     11           4.     Venue Is Proper In This Court. This Court is the proper district court
2029 CENTURY PARK EAST, 18TH FLOOR
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                                     12   for removal because the Superior Court of the State of California for the County of
      LOS ANGELES, CA 90067-3086




                                     13   San Diego is located within the United States District Court for the Southern District
                                     14   of California. See 28 U.S.C. § 1441(a).
                                     15           5.     Notice Will Be Effected. Pursuant to 28 U.S.C. § 1446(d), this Notice
                                     16   of Removal shall be given to adverse parties and a duplicate copy of this Notice of
                                     17   Removal, without exhibits, shall be filed in the Action.
                                     18
                                     19   Dated: February 15, 2019                 STROOCK & STROOCK & LAVAN LLP
                                                                                   ARJUN P. RAO
                                     20                                            ADAM P. SNYDER
                                     21
                                                                                   By:               /s/ Arjun P. Rao
                                     22                                                               Arjun P. Rao
                                     23                                                  Attorneys for Defendant
                                                                                           JPMORGAN CHASE BANK, N.A.
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                                                                                                                Case No. ___________
                                          LA 52216694
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                                      1                              CERTIFICATE OF SERVICE
                                      2           I hereby certify that on February 15, 2019 a copy of the foregoing NOTICE
                                      3   OF REMOVAL OF DEFENDANT JPMORGAN CHASE BANK, N.A. was filed
                                      4   electronically and served by mail on anyone unable to accept electronic filing.
                                      5   Notice of this filing will be sent by e-mail to all parties by operation of the court’s
                                      6   electronic filing system or by mail to anyone unable to accept electronic filing as
                                      7   indicated on the Notice of Electronic Filing. Parties may access this filing through
                                      8   the court’s EM/ECF System.
                                      9
                                     10                                                          /s/ Arjun P. Rao
                                                                                                   Arjun P. Rao
                                     11
2029 CENTURY PARK EAST, 18TH FLOOR
  STROOCK & STROOCK & LAVAN LLP




                                     12
      LOS ANGELES, CA 90067-3086




                                     13
                                          Via U.S. Mail
                                     14   Kevin Brown
                                     15   355 San Dimas Avenue
                                          Oceanside, CA 92057
                                     16
                                     17   Plaintiff, pro se
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                                                                                                             CERTIFICATE OF SERVICE
                                                                                                                  Case No. ___________
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